UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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CATHY O’BRIEN,                         :
                                       :
                                       :
                Plaintiff,             :
                                                      CASE NO.: 1:19-cv-06447
                                       :
      -against-                        :
                                       :
TABLEAU SOFTWARE, INC., CHRISTIAN :
CHABOT, ADAM SELIPSKY, WILLIAM P. :
BOSWORTH, DR. PATRICK HANRAHAN, :
ELLIOTT H. JURGENSEN, JR., HILARIE     :
KOPLOW-MCADAMS, GERRI MARTIN-          :
FLICKINGER, JOHN MCADAM, BROOKE :
SEAWELL, and DR. CHRISTOPHER           :
STOLTE,


               Defendants.
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                                   NOTICE OF DISMISSAL

       Notice is hereby given that pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil

Procedure, Plaintiff voluntarily dismisses the above-titled action as moot. This notice of dismissal

is being filed with the Court before service by Defendants of either an answer or a motion for

summary judgment.

 Dated: August 29, 2019                            Respectfully Submitted,

                                                   MONTEVERDE & ASSOCIATES PC

                                                   /s/ Juan E. Monteverde____________
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